               Case 1:24-cv-12414 Document 1 Filed 09/20/24 Page 1 of 44




                             UNITED STATES DISTRICT COURT
                              DISTRICT OF MASSACHUSETTS
                                   EASTERN DIVISION

    PHENICIA BROWN, individually and on
    behalf of all others similarly situated, Case No.: 1:24-cv-12414

                         Plaintiff,
                                                      CLASS ACTION COMPLAINT
          v.

    KATZ NANNIS + SOLOMON, PC,                        JURY TRIAL DEMANDED

                         Defendant.


                                 CLASS ACTION COMPLAINT

         Plaintiff Phenicia Brown (“Plaintiff”) brings this Class Action Complaint (“Complaint”)

against Defendant Katz Nannis + Solomon, PC (“KN+S” or "Defendant") as an individual and on

behalf of all others similarly situated, and alleges, upon personal knowledge as to her own actions

and her counsels’ investigation, and upon information and belief as to all other matters, as follows:

                                      SUMMARY OF ACTION

         1.     Plaintiff brings this class action against Defendant for its failure to properly secure

and safeguard sensitive information of its clients.

         2.     Defendant is a certified public accountant group that “specialize in helping early-

stage, angel, and venture funded technology, life science and entrepreneurial companies.”1

         3.     Plaintiff’s and Class Members’ sensitive personal information—which they

entrusted to Defendant on the mutual understanding that Defendant would protect it against

disclosure—was targeted, compromised, and unlawfully accessed due to the Data Breach.




1
    Home Page, KATZ NANNIS + SOLOMON, https://www.knscpa.com/ (last visited Sept. 18, 2024).
             Case 1:24-cv-12414 Document 1 Filed 09/20/24 Page 2 of 44




       4.      Defendant collected and maintained certain personally identifiable information of

Plaintiff and the putative Class Members (defined below), who are current or former clients of

Defendant.

       5.      The sensitive information compromised in the Data Breach included Plaintiff’s and

Class Members’ names and Social Security numbers (“personally identifiable information” or

“PII”). In addition, some Class Members may have also had other PII compromised in the Data

Breach, including their driver’s license number, financial information, including account number,

and credit or debit card number, as well as medical information (collectively with PII, “Private

Information”).2

       6.      The Private Information compromised in the Data Breach was exfiltrated by cyber-

criminals and remains in the hands of those cyber-criminals who target Private Information for its

value to identity thieves.

       7.      As a result of the Data Breach, Plaintiff and Class Members suffered concrete

injuries in fact including, but not limited to: (i) invasion of privacy; (ii) theft of their Private

Information; (iii) lost or diminished value of Private Information; (iv) lost time and opportunity

costs associated with attempting to mitigate the actual consequences of the Data Breach; (v) loss

of benefit of the bargain; (vi) lost opportunity costs associated with attempting to mitigate the

actual consequences of the Data Breach; (vii) statutory damages; (viii) nominal damages; and (ix)

the continued and certainly increased risk to their Private Information, which: (a) remains

unencrypted and available for unauthorized third parties to access and abuse; and (b) remains




2        Data        Security       Breach        Reports,      ATTY       GEN      TEXAS,
https://oag.my.site.com/datasecuritybreachreport/apex/DataSecurityReportsPage (last visited
Sept. 18, 2024).

                                                 2
             Case 1:24-cv-12414 Document 1 Filed 09/20/24 Page 3 of 44




backed up in Defendant’s possession and is subject to further unauthorized disclosures so long as

Defendant fails to undertake appropriate and adequate measures to protect the Private Information.

       8.      The Data Breach was a direct result of Defendant’s failure to implement adequate

and reasonable cyber-security procedures and protocols necessary to protect consumers’ Private

Information from a foreseeable and preventable cyber-attack.

       9.      Moreover, upon information and belief, Defendant was targeted for a cyber-attack

due to its status as an accounting firm that collects and maintains highly valuable Private

Information on its systems.

       10.     Defendant maintained, used, and shared the Private Information in a reckless

manner. In particular, the Private Information was used and transmitted by Defendant in a

condition vulnerable to cyberattacks. Upon information and belief the mechanism of the

cyberattack and potential for improper disclosure of Plaintiff’s and Class Members’ Private

Information was a known risk to Defendant, and thus, Defendant was on notice that failing to take

steps necessary to secure the Private Information from those risks left that property in a dangerous

condition.

       11.     Defendant disregarded the rights of Plaintiff and Class Members by, inter alia,

intentionally, willfully, recklessly, or negligently failing to take adequate and reasonable measures

to ensure its data systems were protected against unauthorized intrusions; failing to take standard

and reasonably available steps to prevent the Data Breach; and failing to provide Plaintiff and

Class Members prompt and accurate notice of the Data Breach.

       12.     Plaintiff’s and Class Members’ identities are now at risk because of Defendant’s

negligent conduct because the Private Information that Defendant collected and maintained has

been accessed and acquired by data thieves.




                                                 3
              Case 1:24-cv-12414 Document 1 Filed 09/20/24 Page 4 of 44




        13.     Armed with the Private Information accessed in the Data Breach, data thieves have

already engaged in identity theft and fraud and can in the future commit a variety of crimes

including, e.g., opening new financial accounts in Class Members’ names, taking out loans in Class

Members’ names, using Class Members’ information to obtain government benefits, filing

fraudulent tax returns using Class Members’ information, obtaining driver’s licenses in Class

Members’ names but with another person’s photograph, and giving false information to police

during an arrest.

        14.     As a result of the Data Breach, Plaintiff and Class Members have been exposed to

a presently heightened and imminent risk of fraud and identity theft. Plaintiff and Class Members

must now and in the future closely monitor their financial accounts to guard against identity theft.

        15.     Plaintiff and Class Members may also incur out of pocket costs, e.g., for purchasing

credit monitoring services, credit freezes, credit reports, or other protective measures to deter and

detect identity theft.

        16.     Plaintiff brings this class action lawsuit on behalf all those similarly situated to

address Defendant’s inadequate safeguarding of Class Members’ Private Information that it

collected and maintained, and for failing to provide timely and adequate notice to Plaintiff and

other Class Members that their information had been subject to the unauthorized access by an

unknown third party and precisely what specific type of information was accessed.

        17.     Through this Complaint, Plaintiff seeks to remedy these harms on behalf of herself

and all similarly situated individuals whose Private Information was accessed during the Data

Breach.

        18.     Plaintiff and Class Members have a continuing interest in ensuring that their

information is and remains safe, and they should be entitled to injunctive and other equitable relief.




                                                  4
             Case 1:24-cv-12414 Document 1 Filed 09/20/24 Page 5 of 44




                                  JURISDICTION AND VENUE

       19.     The Court has subject matter jurisdiction over this action under the Class Action

Fairness Act, 28 U.S.C. § 1332(d)(2). There are at least 100 putative Class Members, the

aggregated claims of the individual Class Members exceed the sum or value of $5,000,000

exclusive of interest and costs, and members of the proposed Class, including Plaintiff, are citizens

of states different from Defendant.

       20.     The Court has personal jurisdiction over Defendant through its business operations

in this District, the specific nature of which occurs in this District. Defendant is headquartered in

Massachusetts, regularly conducts business in Massachusetts, and has sufficient minimum contacts

in Massachusetts. Defendant purposefully avails itself of the markets within this District to render

the exercise of jurisdiction by this Court just and proper.

       21.     Venue is proper in this District pursuant to 28 U.S.C. § 1391(a)(1) because

Defendant’s principal place of business is located in this District and a substantial part of the events

and omissions giving rise to this action occurred in this District.

                                              PARTIES

       22.     Plaintiff Phenicia Brown is a resident and citizen of Hazelwood, Missouri.

       23.     Defendant, Katz Nannis + Solomon, Pc, is a corporation organized under the laws

of Massachusetts with its headquarters and principal place of business located at 800 South Street,

Suite 250, Waltham, Massachusetts 02453.




                                                   5
               Case 1:24-cv-12414 Document 1 Filed 09/20/24 Page 6 of 44




                                  FACTUAL ALLEGATIONS

         Defendant's Business

         24.    Defendant is a certified public accountant firm that “specialize in helping early-

stage, angel, and venture funded technology, life science and entrepreneurial companies.3

         25.    Plaintiff and Class Members are current and former clients of Defendant.

         26.    In the course of their relationship, Plaintiff and Class Members provided Defendant

with their sensitive Private Information.

         27.    Upon information and belief, in the course of collecting Private Information from

its clients, including Plaintiff, Defendant promised to provide confidentiality and adequate security

for the data it collected from clients through its applicable privacy policy and through other

disclosures in compliance with statutory privacy requirements.

         28.    Indeed, Defendant provides on its website that: “[your] information will not be

shared with any third parties4

         29.    Plaintiff and the Class Members, as customers at Defendant’s clients, relied on

these promises and on this sophisticated business to keep their sensitive Private Information

confidential and securely maintained, to use this information for business purposes only, and to

make only authorized disclosures of this information. Consumers, in general, demand security to

safeguard their Private Information, especially when their Social Security numbers, PHI, and other

sensitive Private Information is involved.

         The Data Breach

         30.    On September 3, 2024, Defendant began sending Plaintiff and other Data Breach

victims a Notice of Data Breach letter (the "Notice Letter"), informing them that:


3
    Home Page, KATZ NANNIS + SOLOMON, https://www.knscpa.com/ (last visited Sept. 18, 2024).
4
    Id.

                                                 6
             Case 1:24-cv-12414 Document 1 Filed 09/20/24 Page 7 of 44




       WHAT HAPPENED? On November 28, 2023, KN+S became aware of unusual
       activity in our network. Upon discovering this activity, our internal security teams
       took immediate steps to secure our network. We also engaged a team of leading
       external cybersecurity specialists to assist in our response and conduct an
       investigation to determine what happened and what information may have been
       involved.

       The investigation revealed that sometime between November 21, 2023, and
       November 27, 2023, certain KN+S data was acquired without authorization in
       connection with the incident. As a result, we launched a comprehensive
       programmatic and manual review of the potentially affected data. This review
       concluded on August 22, 2024, and identified that some of your information was
       present in the relevant data. We then took steps to notify you of the incident as
       quickly as possible. Please note that KN+S has no evidence of any actual or
       suspected misuse of information involved in this incident.

       WHAT INFORMATION WAS INVOLVED? The potentially affected
       information includes your name and your Social Security number.5

       31.     Omitted from the Notice Letter were the identity of the cybercriminals who

perpetrated this Data Breach, the details of the root cause of the Data Breach, the vulnerabilities

exploited, and the remedial measures undertaken to ensure such a breach does not occur again. To

date, these omitted details have not been explained or clarified to Plaintiff and Class Members,

who retain a vested interest in ensuring that their Private Information remains protected.

       32.     This “disclosure” amounts to no real disclosure at all, as it fails to inform, with any

degree of specificity, Plaintiff and Class Members of the Data Breach’s critical facts. Without

these details, Plaintiff’s and Class Members’ ability to mitigate the harms resulting from the Data

Breach is severely diminished.

       33.     Moreover, Defendant wait more than nine months from when it first became aware

of unusual activity in its network on November 28, 2023, to finally notify Plaintiff and Class

Members on September 3, 2024.



5
 See “Notice Letter.” A copy of the Notice Letter Plaintiff received from Defendant is attached
hereto as Exhibit A.

                                                 7
             Case 1:24-cv-12414 Document 1 Filed 09/20/24 Page 8 of 44




       34.    Despite Defendant’s intentional opacity about the root cause of this incident,

several facts may be gleaned from the Notice Letter, including: a) that this Data Breach was the

work of cybercriminals; b) that the cybercriminals first infiltrated Defendant’s networks and

systems, and downloaded data from the networks and systems (aka exfiltrated data, or in

layperson’s terms “stole” data; and c) that once inside Defendant’s networks and systems, the

cybercriminals targeted information including Class Members’ Social Security numbers and other

sensitive information for download and theft.

       35.    In addition, in its Notice Letter, Defendant failed to specify whether it undertook

any efforts to contact the Class Members whose data was accessed and acquired in the Data Breach

to inquire whether any of the Class Members suffered misuse of their data, whether Class Members

should report their misuse to Defendant, and whether Defendant set up any mechanism for Class

Members to report any misuse of their data.

       The Value of Private Information

       36.    In April 2020, ZDNet reported in an article titled “Ransomware mentioned in

1,000+ SEC filings over the past year”, that “[r]ansomware gangs are now ferociously aggressive

in their pursuit of big companies. They breach networks, use specialized tools to maximize

damage, leak corporate information on dark web portals, and even tip journalists to generate

negative news for complaints as revenge against those who refuse to pay.”6

       37.    In September 2020, the United States Cybersecurity and Infrastructure Security

Agency published online a “Ransomware Guide” advising that “[m]alicious actors have adjusted

their ransomware tactics over time to include pressuring victims for payment by threatening to




6 https://www.zdnet.com/article/ransomeware-mentioned-in-1000-sec-filings-over-the-past-year/
(last visited Sept. 18, 2024).

                                                8
             Case 1:24-cv-12414 Document 1 Filed 09/20/24 Page 9 of 44




release stolen data if they refuse to pay and publicly naming and shaming victims as secondary

forms of extortion.”7

       38.     Stolen Private Information is often trafficked on the dark web, as is the case here.

Law enforcement has difficulty policing the dark web due to this encryption, which allows users

and criminals to conceal identities and online activity.

       39.     When malicious actors infiltrate companies and copy and exfiltrate the PII that

those companies store, that stolen information often ends up on the dark web because the malicious

actors buy and sell that information for profit.8

       40.     Another example is when the U.S. Department of Justice announced its seizure of

AlphaBay in 2017, AlphaBay had more than 350,000 listings, many of which concerned stolen or

fraudulent documents that could be used to assume another person’s identity. Other marketplaces,

similar to the now-defunct AlphaBay, “are awash with [PII] belonging to victims from countries

all over the world. One of the key challenges of protecting PII online is its pervasiveness. As data

breaches in the news continue to show, PII about employees, customers and the public is housed

in all kinds of organizations, and the increasing digital transformation of today’s businesses only

broadens the number of potential sources for hackers to target.”9

       41.     The Private Information of consumers remains of high value to criminals, as

evidenced by the prices they will pay through the dark web. Numerous sources cite dark web

pricing for stolen identity credentials. For example, Private Information can be sold at a price


7 See https://www.cisa.gov/sites/default/files/2023-01-CISA_MSISAC_Ransomware%20Guide_
8508C.pdf (last visited Sept. 18, 2024).
8 Shining a Light on the Dark Web with Identity Monitoring, IdentityForce, Dec. 28, 2020,
https://www.identityforce.com/blog/shining-light-dark-web-identity-monitoring (last visited Sept.
18, 2024).
9 Stolen PII & Ramifications: Identity Theft and Fraud on the Dark Web, Armor, April 3, 2018,
https://www.armor.com/resources/blog/stolen-pii- ramifications- identity-theft-fraud-dark-web/
(last visited Sept. 18, 2024).

                                                    9
             Case 1:24-cv-12414 Document 1 Filed 09/20/24 Page 10 of 44




ranging from $40 to $200, and bank details have a price range of $50 to $2009.10Experian reports

that a stolen credit or debit card number can sell for $5 to $110 on the dark web.11Criminals can

also purchase access to entire company data breaches.12

       42.     In addition, due to the highly valuable nature of PHI, the FBI has warned healthcare

providers that they are likely to be the targets of cyberattacks like the one at issue here.13

       43.     Once Private Information is sold, it is often used to gain access to various areas of

the victim’s digital life, including bank accounts, social media, credit card, and tax details. This

can lead to additional PII being harvested from the victim, as well as PII from family, friends and

colleagues of the original victim.

       44.     According to the FBI’s Internet Crime Complaint Center (IC3) 2019 Internet Crime

Report, Internet-enabled crimes reached their highest number of complaints and dollar losses in

2019, resulting in more than $3.5 billion in losses to individuals and business victims.

       45.     Victims of identity theft also often suffer embarrassment, blackmail, or harassment

in person or online, and/or experience financial losses resulting from fraudulently opened accounts

or misuse of existing accounts.

       46.     Data breaches facilitate identity theft as hackers obtain consumers’ Private

Information and thereafter use it to siphon money from current accounts, open new accounts in the

names of their victims, or sell consumers’ PII to others who do the same.


10 Your personal data is for sale on the dark web. Here’s how much it costs, Digital Trends, Oct.
16, 2019, https://www.digitaltrends.com/computing/personal- data-sold-on-the-dark-web- how-
much-it-costs/ (last visited Sept. 18, 2024).
11 Here’s How Much Your Personal Information Is Selling for on the Dark Web, Experian, Dec.
6,      2017,       https://www.experian.com/blogs/ask-experian/heres-how-much-your-personal-
information-is- selling-for-on-the-dark-web/ (last visited Sept. 18, 2024).
12 In the Dark, VPNOverview, 2019, https://vpnoverview.com/privacy/anonymous- browsing/in-
the- dark/ (last visited Sept. 18, 2024).
13 Jim Finkle, FBI warns healthcare firms they are targeted by hackers, REUTERS (Aug. 20, 2014),
https://www.reuters.com/article/us-cybersecurity-healthcare-fbi-idUSKBN0GK2 4U20140820.

                                                  10
             Case 1:24-cv-12414 Document 1 Filed 09/20/24 Page 11 of 44




       47.     For example, the United States Government Accountability Office noted in a June

2007 report on data breaches (the “GAO Report”) that criminals use Private Information to open

financial accounts, receive government benefits, and make purchases and secure credit in a

victim’s name.14 The GAO Report further notes that this type of identity fraud is the most harmful

because it may take some time for a victim to become aware of the fraud, and can adversely impact

the victim’s credit rating in the meantime. The GAO Report also states that identity theft victims

will face “substantial costs and inconveniences repairing damage to their credit records . . . [and

their] good name.” 15

       48.     The market for Private Information has continued unabated to the present, and in

2023 the number of reported data breaches in the United States increased by 78% over 2022,

reaching 3205 data breaches.16

       49.     The exposure of Plaintiff’s and Class Members’ Private Information to

cybercriminals will continue to cause substantial risk of future harm (including identity theft) that

is continuing and imminent in light of the many different avenues of fraud and identity theft

utilized by third-party cybercriminals to profit off of this highly sensitive information.

       Defendant Fails to Comply with FTC Guidelines.

       50.     The Federal Trade Commission (“FTC”) has promulgated numerous guides for

businesses which highlight the importance of implementing reasonable data security practices.


14 See Government Accountability Office, Personal Information: Data Breaches are Frequent,
but Evidence of Resulting Identity Theft is Limited; However, the Full Extent is Unknown (June
2007), https://www.gao.gov/assets/gao- 07-737.pdf (last visited Sept. 18, 2024).
15 Id.
16 Beth Maundrill, Data Privacy Week: US Data Breaches Surge, 2023 Sees 78% Increase in
Compromises, INFOSECURITY MAGAZINE (Jan. 23, 2024); https://www.infosecurity-
magazine.com/news/us-data-breaches-surge-2023/ (last visited Sept. 18, 2024); see also Identity
Theft Resource Center, 2023 Data Breach Report, https://www.idtheftcenter.org/publication/
2023-data-breach-report/ (last visited Sept. 18, 2024).



                                                 11
             Case 1:24-cv-12414 Document 1 Filed 09/20/24 Page 12 of 44




According to the FTC, the need for data security should be factored into all business decision-

making.

       51.     In 2016, the FTC updated its publication, Protecting Personal Information: A

Guide for Business, which established cyber-security guidelines for businesses. These guidelines

note that businesses should protect the personal consumer information that they keep; properly

dispose of personal information that is no longer needed; encrypt information stored on computer

networks; understand their network’s vulnerabilities; and implement policies to correct any

security problems.17

       52.     The guidelines also recommend that businesses use an intrusion detection system

to expose a breach as soon as it occurs; monitor all incoming traffic for activity indicating someone

is attempting to hack the system; watch for large amounts of data being transmitted from the

system; and have a response plan ready in the event of a breach.18

       53.     The FTC further recommends that companies not maintain Private Information

longer than is needed for authorization of a transaction; limit access to sensitive data; require

complex passwords to be used on networks; use industry-tested methods for security; monitor for

suspicious activity on the network; and verify that third-party service providers have implemented

reasonable security measures.

       54.     The FTC has brought enforcement actions against businesses for failing to

adequately and reasonably protect consumer data, treating the failure to employ reasonable and

appropriate measures to protect against unauthorized access to confidential consumer data as an

unfair act or practice prohibited by Section 5 of the Federal Trade Commission Act (“FTCA”), 15


17
   Protecting Personal Information: A Guide for Business, Federal Trade Commission (2016).
Available at https://www.ftc.gov/system/files/documents/plain-language/pdf-0136_proteting-
personal-information.pdf
18
   Id.

                                                 12
             Case 1:24-cv-12414 Document 1 Filed 09/20/24 Page 13 of 44




U.S.C. § 45. Orders resulting from these actions further clarify the measures businesses must take

to meet their data security obligations.

       55.     These FTC enforcement actions include actions against software vendors, like

Defendant.

       56.     Section 5 of the FTC Act, 15 U.S.C. § 45, prohibits “unfair . . . practices in or

affecting commerce,” including, as interpreted and enforced by the FTC, the unfair act or practice

by businesses, such as Defendant, of failing to use reasonable measures to protect Private

Information. The FTC publications and orders described above also form part of the basis of

Defendant's duty in this regard.

       57.     Defendant failed to properly implement basic data security practices.

       58.     Defendant's failure to employ reasonable and appropriate measures to protect

against unauthorized access to the Private Information of its clients or to comply with applicable

industry standards constitutes an unfair act or practice prohibited by Section 5 of the FTC Act, 15

U.S.C. § 45.

       59.     Upon information and belief, Defendant was at all times fully aware of its

obligation to protect the Private Information of its clients, Defendant was also aware of the

significant repercussions that would result from its failure to do so. Accordingly, Defendant's

conduct was particularly unreasonable given the nature and amount of Private Information it

obtained and stored and the foreseeable consequences of the immense damages that would result

to Plaintiff and the Class Members.




                                                13
             Case 1:24-cv-12414 Document 1 Filed 09/20/24 Page 14 of 44




       Defendant Fails to Comply With Industry Standards.

       60.     As noted above, experts studying cyber security routinely identify businesses, like

Defendants, in possession of Private Information as being particularly vulnerable to cyberattacks

because of the value of the Private Information which they collect and maintain.

       61.     Several best practices have been identified that, at a minimum, should be

implemented by businesses in possession of Private Information, like Defendant, including but not

limited to: educating all employees; strong passwords; multi-layer security, including firewalls,

anti-virus, and anti-malware software; encryption, making data unreadable without a key; multi-

factor authentication; backup data and limiting which employees can access sensitive data.

Defendant failed to follow these industry best practices, including a failure to implement multi-

factor authentication.

       62.     Other best cybersecurity practices that are standard for businesses, like Defendants,

include installing appropriate malware detection software; monitoring and limiting the network

ports; protecting web browsers and email management systems; setting up network systems such

as firewalls, switches and routers; monitoring and protection of physical security systems;

protection against any possible communication system; training staff regarding critical points.

Defendant failed to follow these cybersecurity best practices, including failure to train staff.

       63.     Defendant failed to meet the minimum standards of any of the following

frameworks: the NIST Cybersecurity Framework Version 2.0 (including without limitation

PR.AA-01, PR.AA.-02, PR.AA-03, PR.AA-04, PR.AA-05, PR.AT-01, PR.DS-01, PR-DS-02,

PR.DS-10, PR.PS-01, PR.PS-02, PR.PS-05, PR.IR-01, DE.CM-01, DE.CM-03, DE.CM-06,

DE.CM-09, and RS.CO-04), and the Center for Internet Security’s Critical Security Controls (CIS

CSC), which are all established standards in reasonable cybersecurity readiness.




                                                 14
             Case 1:24-cv-12414 Document 1 Filed 09/20/24 Page 15 of 44




       64.     These foregoing frameworks are existing and applicable industry standards for

software vendors, and upon information and belief, Defendant failed to comply with at least one–

–or all––of these accepted standards, thereby opening the door to the threat actor and causing the

Data Breach.

       Common Injuries & Damages

       65.     As a result of Defendant's ineffective and inadequate data security practices, the

Data Breach, and the foreseeable consequences of Private Information ending up in the possession

of criminals, the risk of identity theft to the Plaintiff and Class Members has materialized and is

imminent, and Plaintiff and Class Members have all sustained actual injuries and damages,

including: (i) invasion of privacy; (ii) theft of their Private Information; (iii) lost or diminished

value of Private Information; (iv) lost time and opportunity costs associated with attempting to

mitigate the actual consequences of the Data Breach; (v) loss of benefit of the bargain; (vi) lost

opportunity costs associated with attempting to mitigate the actual consequences of the Data

Breach; (vii) statutory damages; (viii) nominal damages; and (ix) the continued and certainly

increased risk to their Private Information, which: (a) remains unencrypted and available for

unauthorized third parties to access and abuse; and (b) remains backed up in Defendant’s

possession and is subject to further unauthorized disclosures so long as Defendant fails to

undertake appropriate and adequate measures to protect the Private Information.

       Data Breaches Increase Victims’ Risk Of Identity Theft.

       66.     The unencrypted Private Information of Class Members will end up for sale on the

dark web as that is the modus operandi of hackers.

       67.     Unencrypted Private Information may also fall into the hands of companies that

will use the detailed Private Information for targeted marketing without the approval of Plaintiff




                                                 15
                Case 1:24-cv-12414 Document 1 Filed 09/20/24 Page 16 of 44




and Class Members. Simply put, unauthorized individuals can easily access the Private

Information of Plaintiff and Class Members.

          68.     The link between a data breach and the risk of identity theft is simple and well

established. Criminals acquire and steal Private Information to monetize the information.

Criminals monetize the data by selling the stolen information on the black market to other

criminals who then utilize the information to commit a variety of identity theft related crimes

discussed below.

          69.     Plaintiff’s and Class Members’ Private Information is of great value to hackers and

cyber criminals, and the data stolen in the Data Breach has been used and will continue to be used

in a variety of sordid ways for criminals to exploit Plaintiff and Class Members and to profit off

their misfortune.

          70.     Due to the risk of one’s Social Security number being exposed, state legislatures

have passed laws in recognition of the risk: “[t]he social security number can be used as a tool to

perpetuate fraud against a person and to acquire sensitive personal, financial, medical, and familial

information, the release of which could cause great financial or personal harm to an individual.

While the social security number was intended to be used solely for the administration of the

federal Social Security System, over time this unique numeric identifier has been used extensively

for identity verification purposes[.]”19

          71.     Moreover, “SSNs have been central to the American identity infrastructure for

years, being used as a key identifier[.] . . . U.S. banking processes have also had SSNs baked into




19
     See N.C. Gen. Stat. § 132-1.10(1).

                                                  16
             Case 1:24-cv-12414 Document 1 Filed 09/20/24 Page 17 of 44




their identification process for years. In fact, SSNs have been the gold standard for identifying and

verifying the credit history of prospective customers.”20

       72.     “Despite the risk of fraud associated with the theft of Social Security numbers, just

five of the nation’s largest 25 banks have stopped using the numbers to verify a customer’s identity

after the initial account setup[.]”21 Accordingly, since Social Security numbers are frequently used

to verify an individual’s identity after logging onto an account or attempting a transaction,

“[h]aving access to your Social Security number may be enough to help a thief steal money from

your bank account”22

       73.     One such example of criminals piecing together bits and pieces of compromised

Private Information for profit is the development of “Fullz” packages.23

       74.     With “Fullz” packages, cyber-criminals can cross-reference two sources of Private

Information to marry unregulated data available elsewhere to criminally stolen data with an



20
    See https://www.americanbanker.com/opinion/banks-need-to-stop-relying-on-social-security-
numbers
21
    See https://archive.nytimes.com/bucks.blogs.nytimes.com/2013/03/20/just-5-banks-prohibit-
use-of-social-security-numbers/
22
    See https://www.credit.com/blog/5-things-an-identity-thief-can-do-with-your-social-security-
number-108597/
23
   “Fullz” is fraudster speak for data that includes the information of the victim, including, but not
limited to, the name, address, credit card information, social security number, date of birth, and
more. As a rule of thumb, the more information you have on a victim, the more money that can be
made off of those credentials. Fullz are usually pricier than standard credit card credentials,
commanding up to $100 per record (or more) on the dark web. Fullz can be cashed out (turning
credentials into money) in various ways, including performing bank transactions over the phone
with the required authentication details in-hand. Even “dead Fullz,” which are Fullz credentials
associated with credit cards that are no longer valid, can still be used for numerous purposes,
including tax refund scams, ordering credit cards on behalf of the victim, or opening a “mule
account” (an account that will accept a fraudulent money transfer from a compromised account)
without the victim’s knowledge. See, e.g., Brian Krebs, Medical Records for Sale in Underground
Stolen From Texas Life Insurance Firm, Krebs on Security (Sep. 18, 2014),
https://krebsonsecuritv.eom/2014/09/medical-records-for-sale-in-underground-stolen-from-texas-
life-insurance-](https://krebsonsecuritv.eom/2014/09/medical-records-for-sale-in-underground-
stolen-from-texas-life-insurance-finn/

                                                 17
               Case 1:24-cv-12414 Document 1 Filed 09/20/24 Page 18 of 44




astonishingly complete scope and degree of accuracy in order to assemble complete dossiers on

individuals.

       75.       The development of “Fullz” packages means here that the stolen Private

Information from the Data Breach can easily be used to link and identify it to Plaintiff’s and Class

Members’ phone numbers, email addresses, and other unregulated sources and identifiers. In other

words, even if certain information such as emails, phone numbers, or credit card numbers may not

be included in the Private Information that was exfiltrated in the Data Breach, criminals may still

easily create a Fullz package and sell it at a higher price to unscrupulous operators and criminals

(such as illegal and scam telemarketers) over and over.

       76.       The existence and prevalence of “Fullz” packages means that the Private

Information stolen from the data breach can easily be linked to the unregulated data (like insurance

information) of Plaintiff and the other Class Members.

       77.       Thus, even if certain information (such as insurance information) was not stolen in

the data breach, criminals can still easily create a comprehensive “Fullz” package.

       78.       Then, this comprehensive dossier can be sold—and then resold in perpetuity—to

crooked operators and other criminals (like illegal and scam telemarketers).

Plaintiff and Class Members Suffered Damages.

        79.      As a direct and proximate result of Defendant’s wrongful actions and inaction and

the resulting Data Breach, Plaintiff and Class Members have already been harmed by the

fraudulent misuse of their Private Information, and have been placed at an imminent, immediate,

and continuing increased risk of additional harm from identity theft and identity fraud, requiring

them to take the time which they otherwise would have dedicated to other life demands such as

work and family in an effort to mitigate both the actual and potential impact of the Data Breach on




                                                 18
              Case 1:24-cv-12414 Document 1 Filed 09/20/24 Page 19 of 44




their lives. Such mitigatory actions include, inter alia, placing “freezes” and “alerts” with credit

reporting agencies, contacting their financial institutions, closing or modifying financial accounts,

closely reviewing and monitoring their credit reports and accounts for unauthorized activity,

sorting through dozens of phishing and spam email, text, and phone communications, and filing

police reports. This time has been lost forever and cannot be recaptured.

        80.     Defendant’s wrongful actions and inaction directly and proximately caused the

theft and dissemination into the public domain of Plaintiff’s and Class Members’ Private

Information, causing them to suffer, and continue to suffer, economic damages and other actual

harm for which they are entitled to compensation, including:

                a.     theft and misuse of their personal and financial information;

                b.     the imminent and certainly impending injury flowing from potential fraud

       and identity theft posed by their Private Information being placed in the hands of criminals

       and misused via the sale of Plaintiff’s and Class Members’ information on the Internet’s

       black market;

                c.     the untimely and inadequate notification of the Data Breach;

                d.     the improper disclosure of their Private Information;

                e.     loss of privacy;

                f.     ascertainable losses in the form of out-of-pocket expenses and the value of

       their time reasonably incurred to remedy or mitigate the effects of the Data Breach;

                g.     ascertainable losses in the form of deprivation of the value of their Private

       Information, for which there is a well-established national and international market;

                h.     the loss of productivity and value of their time spent to address, attempt to

       ameliorate, mitigate, and deal with the actual and future consequences of the Data Breach,




                                                 19
              Case 1:24-cv-12414 Document 1 Filed 09/20/24 Page 20 of 44




         including finding fraudulent charges, cancelling and reissuing cards, purchasing credit

         monitoring and identity theft protection services, imposition of withdrawal and purchase

         limits on compromised accounts, and the inconvenience, nuisance and annoyance of

         dealing with all such issues resulting from the Data Breach; and

                 i.         nominal damages.

      81.        While Plaintiff’s and Class Members’ Private Information has been stolen,

Defendant continues to hold Plaintiff’s and Class Members’ Private Information. Particularly

because Defendant has demonstrated an inability to prevent a breach or stop it from continuing

even after being detected, Plaintiff and Class Members have an undeniable interest in ensuring that

their Private Information is secure, remains secure, is properly and promptly destroyed, and is not

subject to further theft.

         Plaintiff Phenicia Brown’s Experience

      82.        Plaintiff Phenicia Brown is a resident of Hazlewood, Minnesota.

      83.        Plaintiff Phenicia Brown received a data breach notice from KN+S dated

September 3, 2024, informing her that her information was “acquired without authorization” and

that her PII she provided, directly or indirectly, to KN+S had been compromised during the Data

Breach. Specifically, KN+S informed Plaintiff Phenicia Brown that her name and Social Security

number had been compromised during the Data Breach.

      84.        Plaintiff Phenicia Brown takes great care to protect her PII. She was not aware that

KN+S had gained access to her PII, and would not have entrusted her PII with KN+S or agreed to

provide KN+S with her PII. As a direct result of the Data Breach, Plaintiff Phenicia Brown has

suffered injury and damages including, inter alia, a substantial and imminent risk of identity theft;




                                                  20
                 Case 1:24-cv-12414 Document 1 Filed 09/20/24 Page 21 of 44




the wrongful disclosure and loss of confidentiality of her highly sensitive PII; and deprivation of

the value of her PII.

     85.           In the instant that her Private Information was accessed and obtained by a third

party without her consent or authorization, Plaintiff Phenicia Brown suffered injury from a loss of

privacy.

     86.           Plaintiff Phenicia Brown has been further injured by the damages to and diminution

in value other Private Information—a form of intangible property. This information has inherent

value that Plaintiff Phenicia Brown was deprived of when her Private Information was placed on a

publicly accessible database, exfiltrated by cybercriminals.

     87.           She will also now have to spend significant time monitoring her accounts for

fraudulent activity for the foreseeable future. Plaintiff Phenicia Brown plans on taking additional

time-consuming, necessary steps to help mitigate the harm caused by the Data Breach, including

continually reviewing her accounts for any unauthorized activity.

     88.           Plaintiff Phenicia Brown has a continuing interest in ensuring that her Private

Information, which, upon information and belief, remains backed up in Defendant’s possession, is

protected, and safeguarded from future breaches.

                                        CLASS ALLEGATIONS

           89.     Plaintiff brings this nationwide class action on behalf of herself and on behalf of all

others similarly situated, pursuant to Fed. R. Civ. P. 23(a), 23(b)(1), 23(b)(2), 23(b)(3), 23(c)(4)

and/or 23(c)(5).

           90.     The Class that Plaintiff seeks to represent is defined as follows, subject to

amendment as appropriate:




                                                     21
             Case 1:24-cv-12414 Document 1 Filed 09/20/24 Page 22 of 44




             All persons residing in the United States whose Private Information was
             compromised in the Data Breach, including all who were sent a notice of the
             Data Breach.

       91.      Excluded from the Class are the following individuals and/or entities: Defendant

and Defendant’s parents, subsidiaries, affiliates, officers and directors, and any entity in which

Defendant has a controlling interest; all individuals who make a timely election to be excluded

from this proceeding using the correct protocol for opting out; and all judges assigned to hear any

aspect of this litigation, as well as its immediate family members.

       92.      Plaintiff reserves the right to amend the definitions of the Class or add a Class or

Subclass if further information and discovery indicate that the definitions of the Class should be

narrowed, expanded, or otherwise modified.

       93.      Numerosity: The members in the Class are so numerous that joinder of all Class

Members in a single proceeding would be impracticable. Although the precise number of

individuals impacted is currently unknown to Plaintiff and exclusively in the possession of

Defendant, upon information and belief, thousands of persons were impacted in the Data Breach.

       94.      Commonality and Predominance: Common questions of law and fact exist as to all

Class Members and predominate over any potential questions affecting only individual Class

Members. These common questions of law or fact include, inter alia:

                a.     Whether Defendant engaged in the conduct alleged herein;

                b.     Whether Defendant had a duty to implement and maintain reasonable

       security procedures and practices to protect and secure Plaintiff’s and Class Members’

       Private Information from unauthorized access and disclosure;




                                                 22
    Case 1:24-cv-12414 Document 1 Filed 09/20/24 Page 23 of 44




          c.   Whether Defendant’s computer systems and data security practices used to

protect Plaintiff’s and Class Members’ Private Information violated the FTC Act and/or

state laws, and/or Defendant’s other duties discussed herein;

          d.   Whether Defendants failed to adequately respond to the Data Breach,

including failing to investigate it diligently and notify affected individuals in the most

expedient time possible and without unreasonable delay, and whether this caused damages

to Plaintiff and Class Members;

          e.   Whether Defendant unlawfully shared, lost, or disclosed Plaintiff’s and

Class Members’ Private Information;

          f.   Whether Defendant’s data security systems prior to and during the Data

Breach complied with applicable data security laws and regulations;

          g.   Whether Defendant’s data security systems prior to and during the Data

Breach were consistent with industry standards;

          h.   Whether Plaintiff and Class Members suffered injury as a proximate result

of Defendant’s negligent actions or failures to act;

          i.   Whether Defendant failed to exercise reasonable care to secure and

safeguard Plaintiff’s and Class Members’ Private Information;

          j.   Whether Defendant breached duties to protect Plaintiff’s and Class

Members’ Private Information;

          k.   Whether Defendant’s actions and inactions alleged herein were negligent;

          l.   Whether Defendant was unjustly enriched by their conduct as alleged

herein;




                                         23
             Case 1:24-cv-12414 Document 1 Filed 09/20/24 Page 24 of 44




               m.      Whether an implied contract existed between Class Members and

       Defendant with respect to protecting Private Information and privacy, and whether that

       contract was breached;

               n.      Whether Plaintiff and Class Members are entitled to actual and/or statutory

       damages or other relief, and the measure of such damages and relief;

               o.      Whether Plaintiff and Class Members are entitled to additional credit or

       identity monitoring and monetary relief; and

               p.      Whether Plaintiff and Class Members are entitled to equitable relief,

       including injunctive relief, restitution, disgorgement, and/or the establishment of a

       constructive trust.

       95.     Defendant engaged in a common course of conduct giving rise to the legal rights

sought to be enforced by Plaintiff on behalf of herself and all other Class Members. Individual

questions, if any, pale in comparison, in both quantity and quality, to the numerous common

questions that dominate this action.

       96.     Typicality: Plaintiff’s claims are typical of the claims of the Class. Plaintiff, like all

proposed members of the Class, had her Private Information compromised in the Data Breach.

Plaintiff and Class Members were injured by the same wrongful acts, practices, and omissions

committed by Defendant, as described herein. Plaintiff’s claims therefore arise from the same

practices or course of conduct that give rise to the claims of all Class Members.

       97.     Policies Generally Applicable to the Class: This class action is also appropriate for

certification because Defendant acted or refused to act on grounds generally applicable to the

Class, thereby requiring the Court’s imposition of uniform relief to ensure compatible standards of

conduct toward the Class Members and making final injunctive relief appropriate with respect to




                                                  24
                 Case 1:24-cv-12414 Document 1 Filed 09/20/24 Page 25 of 44




the Class as a whole. Defendant’s policies challenged herein apply to and affect Class Members

uniformly and Plaintiff's challenge of these policies hinges on Defendant’s conduct with respect to

the Class as a whole, not on facts or law applicable only to Plaintiff.

          98.      Adequacy: Plaintiff will fairly and adequately protect the interests of the Class

Members. Plaintiff is an adequate representative of the Class and has no interests adverse to, or

conflict with, the Class she seeks to represent. Plaintiff has retained counsel with substantial

experience and success in the prosecution of complex consumer protection class actions of this

nature.

          99.      Superiority: A class action is superior to any other available means for the fair and

efficient adjudication of this controversy, and no unusual difficulties are likely to be encountered

in the management of this class action. The damages and other financial detriment suffered by

Plaintiff and all other Class Members are relatively small compared to the burden and expense that

would be required to individually litigate their claims against Defendant, so it would be

impracticable for Class Members to individually seek redress from Defendant’s wrongful conduct.

Even if Class Members could afford individual litigation, the court system could not.

Individualized litigation creates a potential for inconsistent or contradictory judgments and

increases the delay and expense to all parties and the court system. By contrast, the class action

device presents far fewer management difficulties and provides the benefits of single adjudication,

economy of scale, and comprehensive supervision by a single court.

          100.     Injunctive and Declaratory Relief: Defendant has acted and/or refused to act on

grounds generally applicable to the Class such that final injunctive relief and/or corresponding

declaratory relief is appropriate as to the Class as a whole.




                                                    25
               Case 1:24-cv-12414 Document 1 Filed 09/20/24 Page 26 of 44




        101.     Likewise, particular issues are appropriate for certification under Rule 24(c)(4)

because such claims present only particular, common issues, the resolution of which would

advance the disposition of this mater and the parties’ interests therein. Such issues include, but are

not limited to: (a) whether Defendant owed a legal duty to Plaintiff and Class Members to exercise

due care in collecting, storing, and safeguarding their Private Information; (b) whether Defendant

failed to adequately monitor and audit their data security systems; and (c) whether Defendant failed

to take reasonable steps to safeguard the Private Information of Plaintiff and Class Members. All

members of the proposed Class are readily ascertainable. Defendant has access to the names in

combination with addresses and/or e-mail addresses of Class Members affected by the Data

Breach. Indeed, impacted Class Members already have been preliminarily identified and sent a

breach notice letter.

                                       CAUSES OF ACTION

                                            COUNT I
                                            Negligence
                               (On Behalf of Plaintiff and the Class)

        102.     Plaintiff re-alleges and incorporates by reference all of the allegations contained in

paragraphs 1 through 101 as if fully set forth herein.

        103.     Defendant gathered and stored the Private Information of Plaintiff and Class

Members as part of its business, which affects commerce.

        104.     Plaintiff and Class Members, entrusted Defendant with their Private Information

with the understanding that the information would be safeguarded.

        105.     Defendant had full knowledge of the sensitivity of the Private Information and the

types of harm that Plaintiff and Class Members could and would suffer if their Private Information

were wrongfully disclosed.




                                                  26
                  Case 1:24-cv-12414 Document 1 Filed 09/20/24 Page 27 of 44




           106.     By assuming the responsibility to collect and store this data, Defendant had duties

of care to use reasonable means to secure and to prevent disclosure of the information, and to

safeguard the information from theft.

           107.     Defendant owed a duty of care to Plaintiff and Class Members to provide data

security consistent with industry standards and other requirements discussed herein, and to ensure

that their systems and networks, and the personnel responsible for them, adequately protected the

Private Information.

           108.     Defendant’s duty to use reasonable security measures arose as a result of the special

relationship that existed between Defendant, on the one hand, and Plaintiff and Class Members,

on the other hand. That special relationship arose because Defendant was entrusted with their

confidential Private Information, a necessary part of accounting services, and Plaintiff shared the

information with Defendant.

           109.     Defendant also had a duty to exercise appropriate clearinghouse practices to remove

former clients' Private Information they were no longer required to retain pursuant to regulations.

           110.     Moreover, Defendant had a duty to promptly and adequately notify Plaintiff and

the Class of the Data Breach, but failed to do so.

           111.     Defendant had and continues to have duties to adequately disclose that Plaintiff’s

and Class Members’ Private Information within Defendant’s possession might have been

compromised, how it was compromised, and precisely the types of data that were compromised

and when. Such notice was necessary to allow Plaintiff and the Class to take steps to prevent,

mitigate, and repair any identity theft and the fraudulent use of their Private Information by third

parties.




                                                     27
              Case 1:24-cv-12414 Document 1 Filed 09/20/24 Page 28 of 44




       112.     Defendant breached its duties and thus was negligent, by failing to use reasonable

measures to protect Plaintiff’s and Class Members’ Private Information. The specific negligent

acts and omissions committed by Defendant include, but are not limited to, the following:

                a.     Failing to adopt, implement, and maintain adequate security measures to

       safeguard Class Members’ Private Information;

                b.     Failing to adequately monitor the security of their networks and systems;

                c.     Allowing unauthorized access to Class Members’ Private Information;

                d.     Failing to detect in a timely manner that Class Members’ Private

       Information had been compromised;

                e.     Failing to remove clients’ former patients’ Private Information they were no

       longer required to retain pursuant to regulations; and

                f.     Failing to timely and adequately notify Class Members about the Data

       Breach’s occurrence and scope, so that they could take appropriate steps to mitigate the

       potential for identity theft and other damages.

       113.     Defendant breached its duties to Plaintiff and Class Members by failing to provide

fair, reasonable, or adequate computer systems and data security practices to safeguard Plaintiff’s

and Class Members’ Private Information.

       114.     Defendant knew or should have known that its failure to implement reasonable data

security measures to protect and safeguard Plaintiff’s and Class Members’ Private Information

would cause damage to Plaintiff and the Class.

       115.     The FTC has pursued enforcement actions against businesses, which, as a result of

their failure to employ reasonable data security measures and avoid unfair and deceptive practices,

caused the same harm as that suffered by Plaintiff and the Class.




                                                 28
              Case 1:24-cv-12414 Document 1 Filed 09/20/24 Page 29 of 44




       116.     A breach of security, unauthorized access, and resulting injury to Plaintiff and the

Class was reasonably foreseeable, particularly in light of Defendant’s inadequate security

practices.

       117.     It was foreseeable that Defendant’s failure to use reasonable measures to protect

Class Members’ Private Information would result in injury to Class Members. Further, the breach

of security was reasonably foreseeable given the known high frequency of corporate cyberattacks

and data breaches.

       118.     Defendant had full knowledge of the sensitivity of the Private Information and the

types of harm that Plaintiff and the Class could and would suffer if the Private Information were

wrongfully disclosed.

       119.     Plaintiff and the Class were the foreseeable and probable victims of any inadequate

security practices and procedures. Defendant knew or should have known of the inherent risks in

collecting and storing Private Information, the critical importance of providing adequate security

of that Private Information, and the necessity for encrypting Private Information stored on its

systems.

       120.     Plaintiff and the Class had no ability to protect their Private Information that was

in, and possibly remains in, Defendant’s possession.

       121.     Defendant was in a position to protect against the harm suffered by Plaintiff and

the Class as a result of the Data Breach.

       122.     Defendant’s duties extended to protecting Plaintiff and the Class from the risk of

foreseeable criminal conduct of third parties, which have been recognized in situations where the

actor’s own conduct or misconduct exposes another to the risk or defeats protections put in place

to guard against the risk, or where the parties are in a special relationship. See Restatement




                                                 29
              Case 1:24-cv-12414 Document 1 Filed 09/20/24 Page 30 of 44




(Second) of Torts § 302B. Numerous courts and legislatures have also recognized the existence of

a specific duty to reasonably safeguard personal information.

       123.     Defendant has admitted that the Private Information of Plaintiff and the Class was

wrongfully lost and disclosed to unauthorized third persons as a result of the Data Breach.

       124.     But for Defendant’s wrongful and negligent breaches of duties owed to Plaintiff

and the Class, Plaintiff’s and Class Members’ Private Information would not have been

compromised.

       125.     There is a close causal connection between Defendant’s failure to implement

security measures to protect Plaintiff’s and Class Members’ Private Information, and the harm, or

risk of imminent harm, suffered by Plaintiff and the Class. Private Information was lost and

accessed as the proximate result of Defendants failure to exercise reasonable care by adopting,

implementing, and maintaining appropriate security measures.

       126.     As a direct and proximate result of Defendants negligence, Plaintiff and the Class

have suffered and will suffer injury, including but not limited to: (i) the actual misuse of their

compromised Private Information; (ii) invasion of privacy; (iii) lost or diminished value of Private

Information; (iv) lost time and opportunity costs associated with attempting to mitigate the actual

consequences of the Data Breach; (v) loss of benefit of the bargain; (vi) an increase in spam calls,

texts, and/or emails (vii) the continued and certainly increased risk to their Private Information,

which: (a) remains unencrypted and available for unauthorized third parties to access and abuse;

and (b) remains backed up in Defendant’s possession and is subject to further unauthorized

disclosures so long as Defendant fails to undertake appropriate and adequate measures to protect

the Private Information; (viii) future costs in terms of time, effort and money that will be expended

to prevent, detect, contest, and repair the inevitable and continuing consequences of compromised




                                                 30
              Case 1:24-cv-12414 Document 1 Filed 09/20/24 Page 31 of 44




PII for the rest of their lives; (ix) the present value of ongoing credit monitoring and identity

defense services necessitated by Defendant’s data breach; (x) the value of the unauthorized access

to their PII permitted by Defendant; and (xi) any nominal damages that may be awarded.

       127.     As a direct and proximate result of Defendant’s negligence, Plaintiff and the Class

have suffered and will continue to suffer other forms of injury and/or harm, including, but not

limited to, anxiety, emotional distress, loss of privacy, and other economic and non-economic

losses including nominal damages.

       128.     Plaintiff and Class Members are entitled to compensatory and consequential

damages suffered as a result of the Data Breach.

       129.     Defendant’s negligent conduct is ongoing, in that it still possesses Plaintiff’s and

Class Members’ Private Information in an unsafe and insecure manner.

       130.     Plaintiff and Class Members are entitled to injunctive relief requiring Defendant to:

(i) strengthen its data security systems and monitoring procedures; (ii) submit to future annual

audits of those systems and monitoring procedures; and (iii) continue to provide adequate credit

monitoring to all Class Members.

                                          COUNT II
                                      Negligence Per Se
                              (On Behalf of Plaintiff and the Class)

       131.     Plaintiff re-alleges and incorporates by reference all of the allegations contained in

paragraphs 1 through 101, as if fully set forth herein.

       132.     Section 5 of the Federal Trade Commission Act, 15 U.S.C. § 45, prohibits “unfair

. . . practices in or affecting commerce” including, as interpreted and enforced by the FTC, the

unfair act or practice by companies, such as Defendant, of failing to use reasonable measures to




                                                 31
              Case 1:24-cv-12414 Document 1 Filed 09/20/24 Page 32 of 44




protect Private Information. Various FTC publications and orders also form the basis of

Defendant’s duty.

       133.     Defendant violated Section 5 of the FTC Act by failing to use reasonable measures

to protect Private Information and not complying with industry standards. Defendant’s conduct

was particularly unreasonable given the nature and amount of Private Information obtained and

stored and the foreseeable consequences of a data breach on Defendant’s systems.

       134.     Defendant’s violation of Section 5 of the FTC Act constitutes negligence per se.

       135.     Class Members are consumers within the class of persons that Section 5 of the FTC

Act was intended to protect.

       136.     Moreover, the harm that has occurred is the type of harm that the FTC Act intended

to guard against. Indeed, the FTC has pursued over fifty enforcement actions against businesses

which, as a result of their failure to employ reasonable data security measures and avoid unfair and

deceptive practices, caused the same harm suffered by Plaintiff and Class Members.

       137.     But for Defendant’s wrongful and negligent breach of duties owed to Plaintiff and

the Class, the Private Information of Plaintiff and the Class would not have been compromised.

       138.     There is a close causal connection between Defendant’s failure to implement

security measures to protect the Private Information of Plaintiff and the Class and the harm, or risk

of imminent harm, suffered by Plaintiff and the Class. The Private Information of Plaintiff and the

Class was lost and accessed as the proximate result of Defendant’s failure to exercise reasonable

care in safeguarding such Private Information by adopting, implementing, and maintaining

appropriate security measures.

       139.     As a direct and proximate result of Defendant’s negligence per se, Plaintiff and the

Class have suffered and will suffer injury, including but not limited to: (i) invasion of privacy; (ii)




                                                  32
                 Case 1:24-cv-12414 Document 1 Filed 09/20/24 Page 33 of 44




theft of their Private Information; (iii) lost or diminished value of Private Information; (iv) lost

time and opportunity costs associated with attempting to mitigate the actual consequences of the

Data Breach; (v) loss of benefit of the bargain; (vi) lost opportunity costs associated with

attempting to mitigate the actual consequences of the Data Breach; (vii) statutory damages; (viii)

nominal damages; and (ix) the continued and certainly increased risk to their Private Information,

which: (a) remains unencrypted and available for unauthorized third parties to access and abuse;

and (b) remains backed up in Defendant’s possession and is subject to further unauthorized

disclosures so long as Defendant fails to undertake appropriate and adequate measures to protect

the Private Information.

          140.     As a direct and proximate result of Defendant’s negligence per se, Plaintiff and the

Class have suffered and will continue to suffer other forms of injury and/or harm, including, but

not limited to, anxiety, emotional distress, loss of privacy, and other economic and non-economic

losses.

          141.     Additionally, as a direct and proximate result of Defendant’s negligence per se,

Plaintiff and the Class have suffered and will suffer the continued risks of exposure of their Private

Information, which remain in Defendant’s possession and is subject to further unauthorized

disclosures so long as Defendant fails to undertake appropriate and adequate measures to protect

the Private Information in its continued possession.

          142.     Plaintiff and Class Members are entitled to compensatory and consequential

damages suffered as a result of the Data Breach.

          143.     Defendant’s negligent conduct is ongoing, in that it still holds the Private

Information of Plaintiff and Class Members in an unsafe and insecure manner.




                                                    33
              Case 1:24-cv-12414 Document 1 Filed 09/20/24 Page 34 of 44




       144.     Plaintiff and Class Members are also entitled to injunctive relief requiring

Defendant to (i) strengthen its data security systems and monitoring procedures; (ii) submit to

future annual audits of those systems and monitoring procedures; and (iii) continue to provide

adequate credit monitoring to all Class Members.

                                          COUNT III
                                  Breach Of Implied Contract
                              (On Behalf of Plaintiff and the Class)

       145.     Plaintiff re-alleges and incorporates by reference all of the allegations contained in

paragraphs 1 through 101, as if fully set forth herein.

       146.     Plaintiff and Class Members were required to provide Defendant with their Private

Information in order to receive accounting services.

       147.     When Plaintiff and Class Members provided their Private Information to Defendant

when seeking services, they entered into implied contracts in which Defendant agreed to comply

with its statutory and common law duties to protect their Private Information and to timely notify

them in the event of a Data Breach.

       148.     Based on Defendant’s representations, legal obligations, and acceptance of

Plaintiff’s and Class Members’ Private Information, Defendant had an implied duty to safeguard

their Private Information through the use of reasonable industry standards.

       149.     Defendant breached the implied contracts by failing to safeguard Plaintiff’s and

Class Members’ Private Information and failing to provide them with timely and accurate notice

of the Data Breach. Indeed, it took Defendant five months to warn Plaintiff and Class Members

of their imminent risk of identity theft.

       150.     As a direct and proximate result of Defendant’s breaches of implied contracts,

Plaintiff and Class Members have suffered and will suffer injury, including but not limited to: (i)




                                                 34
              Case 1:24-cv-12414 Document 1 Filed 09/20/24 Page 35 of 44




actual identity theft; (ii) the loss of the opportunity how their Private Information is used; (iii) the

compromise and/or theft of their Private Information; (iv) out-of-pocket expenses associated with

the prevention, detection, and recovery from identity theft, tax fraud, and/or unauthorized use of

their Private Information; (v) lost opportunity costs associated with effort expended and the loss

of productivity addressing and attempting to mitigate the actual and future consequences of the

Data Breach, including but not limited to efforts spent researching how to prevent, detect, contest,

and recover from tax fraud and identity theft; (vi) costs associated with placing freezes on credit

reports; (vii) the continued risk to their Private Information, which remain in Defendant’s

possession and is subject to further unauthorized disclosures so long as Defendant fail to undertake

appropriate and adequate measures to protect the Private Information of Plaintiff and Class

Members; and (viii) future costs in terms of time, effort, and money that will be expended to

prevent, detect, contest, and repair the impact of the Private Information compromised as a result

of the Data Breach for the remainder of the lives of Plaintiff and Class Members.

       151.       Accordingly, Plaintiff and Class Members are entitled to an award of actual and

punitive damages in an amount to be proven at trial, as well as an award of nominal damages.

                                            COUNT IV
                                       Unjust Enrichment
                                (On Behalf of Plaintiff and the Class)

       152.       Plaintiff incorporates by reference paragraphs 1 through 101, as though fully

alleged herein.

       153.       This claim is pleaded in the alternative to the breach of implied contract claim.

       154.       Plaintiff and Class Members conferred a monetary benefit to Defendant when they

provided their Private Information and payment to Defendant.




                                                   35
               Case 1:24-cv-12414 Document 1 Filed 09/20/24 Page 36 of 44




       155.      Defendant knew that Plaintiff and Class Members conferred a monetary benefit to

Defendant when it accepted and retained that benefit. Defendant profited from this monetary

benefit, as the transmission of Private Information to Defendant from Plaintiff’s and Class

Members is an integral part of Defendant’s business. Without collecting and maintaining Plaintiff

and Class Members’ Private Information, Defendant would have dramatically diminished business

and profits.

       156.      Defendant was supposed to use some of the monetary benefit provided to it from

Plaintiff and Class Members to secure the Private Information belonging to Plaintiff and Class

Members by paying for costs of adequate data management and security.

       157.      Defendant should not be permitted to retain any monetary benefit belonging to

Plaintiff and Class Members because Defendant failed to implement necessary security measures

to protect the Private Information of Plaintiff and Class Members.

       158.      Defendant gained access to the Plaintiff’s and Class Members’ Private Information

through inequitable means because Defendant failed to disclose that it used inadequate security

measures.

       159.      Plaintiff and Class Members were unaware of the inadequate security measures and

would not have entrusted their Private Information to Defendant had they known of the inadequate

security measures.

       160.      To the extent that this cause of action is pled in the alternative to the others, Plaintiff

and Class Members have no adequate remedy at law.

       161.      As a direct and proximate result of Defendant’s conduct, Plaintiff and Class

Members have suffered and will suffer injury, including but not limited to: (i) actual identity theft;

(ii) the loss of the opportunity how their Private Information is used; (iii) the compromise and/or




                                                    36
              Case 1:24-cv-12414 Document 1 Filed 09/20/24 Page 37 of 44




theft of their Private Information; (iv) out-of-pocket expenses associated with the prevention,

detection, and recovery from identity theft, tax fraud, and/or unauthorized use of their Private

Information; (v) lost opportunity costs associated with effort expended and the loss of productivity

addressing and attempting to mitigate the actual and future consequences of the Data Breach,

including but not limited to efforts spent researching how to prevent, detect, contest, and recover

from tax fraud and identity theft; (vi) costs associated with placing freezes on credit reports; (vii)

the continued risk to their Private Information, which remain in Defendant’s possession and is

subject to further unauthorized disclosures so long as Defendant fail to undertake appropriate and

adequate measures to protect the Private Information of Plaintiff and Class Members; and (viii)

future costs in terms of time, effort, and money that will be expended to prevent, detect, contest,

and repair the impact of the Private Information compromised as a result of the Data Breach for

the remainder of the lives of Plaintiff and Class Members.

       162.     As a direct and proximate result of Defendant’s conduct, Plaintiff and Class

Members have suffered and will continue to suffer other forms of injury and/or harm, including,

but not limited to, anxiety, emotional distress, loss of privacy, and other economic and

noneconomic losses.

       163.     Defendant should be compelled to disgorge into a common fund or constructive

trust, for the benefit of Plaintiff and Class Members, proceeds from the monetary benefit that it

unjustly received from them.

                                            COUNT V
                                 Declaratory and Injunctive Relief
                               (On Behalf of Plaintiff and the Class)

       164.     Plaintiff re-alleges and incorporates by reference all of the allegations contained in

paragraphs 1 through 101, as if fully set forth herein.




                                                 37
               Case 1:24-cv-12414 Document 1 Filed 09/20/24 Page 38 of 44




        165.     Under the Declaratory Judgment Act, 28 U.S.C. §§ 2201 et seq., this Court is

authorized to enter a judgment declaring the rights and legal relations of the parties and to grant

further necessary relief. Furthermore, the Court has broad authority to restrain acts that are tortious

and violate the terms of the federal and common law described in this Complaint.

        166.     Defendant owes a duty of care to Plaintiff and Class Members, which required it to

adequately secure Plaintiff’s and Class Members’ Private Information.

        167.     Defendant still possesses Private Information regarding Plaintiff and Class

Members.

        168.     Plaintiff alleges that Defendant’s data security measures remain inadequate.

Furthermore, Plaintiff continues to suffer injury as a result of the compromise of his Private

Information and the risk remains that further compromises of his Private Information will occur in

the future.

        169.     Additionally, under its authority pursuant to the Declaratory Judgment Act, this

Court should enter a judgment declaring, among other things, the following:

                 a.     Defendant owes a legal duty to secure its clients’ current and former clients’

        Private Information from unauthorized disclosure and theft;

                 b.     Defendant’s existing security measures do not comply with its implicit

        contractual obligations and duties of care to provide reasonable security procedures and

        practices that are appropriate to protect its clients’ current and former clients’ Private

        Information; and,

                 c.     Defendant continues to breach this legal duty by failing to employ

        reasonable measures to secure its clients’ current and former clients’ Private Information.




                                                  38
              Case 1:24-cv-12414 Document 1 Filed 09/20/24 Page 39 of 44




       170.     The Court should also issue corresponding prospective injunctive relief requiring

Defendant to employ adequate security protocols consistent with legal and industry standards to

protect its clients’ current and former clients’ Private Information, including the following:

                a.        Order Defendant to provide lifetime credit monitoring and identity theft

       insurance to Plaintiff and Class Members; and,

                b.        Order that, to comply with Defendant’s explicit or implicit contractual

       obligations and duties of care, Defendant must implement and maintain reasonable security

       measures, including, but not limited to:

                     i.   engaging third-party security auditors/penetration testers as well as internal

                          security personnel to conduct testing, including simulated attacks,

                          penetration tests, and audits on Defendant’s systems on a periodic basis, and

                          ordering Defendant to promptly correct any problems or issues detected by

                          such third-party security auditors;

                  ii.     engaging third-party security auditors and internal personnel to run

                          automated security monitoring;

                 iii.     auditing, testing, and training its security personnel regarding any new or

                          modified procedures;

                 iv.      segmenting its user applications by, among other things, creating firewalls

                          and access controls so that if one area is compromised, hackers cannot gain

                          access to other portions of Defendant’s systems;

                     v.   conducting regular database scanning and security checks;




                                                   39
              Case 1:24-cv-12414 Document 1 Filed 09/20/24 Page 40 of 44




                 vi.    routinely and continually conducting internal training and education to

                        inform internal security personnel how to identify and contain a breach

                        when it occurs and what to do in response to a breach; and,

                vii.    routinely and continually purging all former client data that is no longer

                        necessary in order to adequately conduct its business operations; and

                        meaningfully educating its clients’ current and former clients about the

                        threats they face with regard to the security of their Private Information, as

                        well as the steps Defendant’s clients’ current and former clients should take

                        to protect themselves.

       171.     If an injunction is not issued, Plaintiff will suffer irreparable injury and will lack an

adequate legal remedy to prevent another data breach at Defendant. The risk of another such breach

is real, immediate, and substantial. If another breach at Defendant occurs, Plaintiff will not have

an adequate remedy at law because many of the resulting injuries are not readily quantifiable.

       172.     The hardship to Plaintiff if an injunction does not issue exceeds the hardship to

Defendant if an injunction is issued. Plaintiff will likely be subjected to substantial, continued

identity theft and other related damages if an injunction is not issued. On the other hand, the cost

of Defendant’s compliance with an injunction requiring reasonable prospective data security

measures is relatively minimal, and Defendant has a pre-existing legal obligation to employ such

measures.

       173.     Issuance of the requested injunction will not disserve the public interest. To the

contrary, such an injunction would benefit the public by preventing a subsequent data breach at

Defendant, thus preventing future injury to Plaintiff and Defendant’s clients’ current and former

clients whose Private Information would be further compromised.




                                                   40
            Case 1:24-cv-12414 Document 1 Filed 09/20/24 Page 41 of 44




                                      PRAYER FOR RELIEF

       WHEREFORE, Plaintiff, on behalf of herself and Class Members, requests judgment

against Defendant and that the Court grants the following:

       A.      For an Order certifying the Class, and appointing Plaintiff and her Counsel to

               represent the Class;

       B.      For equitable relief enjoining Defendant from engaging in the wrongful conduct

               complained of herein pertaining to the misuse and/or disclosure of the Private

               Information of Plaintiff and Class Members;

       C.      For injunctive relief requested by Plaintiff, including but not limited to, injunctive

               and other equitable relief as is necessary to protect the interests of Plaintiff and

               Class Members, including but not limited to an order:

               i.   prohibiting Defendant from engaging in the wrongful and unlawful acts

                    described herein;

              ii.   requiring Defendant to protect, including through encryption, all data collected

                    through the course of its business in accordance with all applicable regulations,

                    industry standards, and federal, state or local laws;

             iii.   requiring Defendant to delete, destroy, and purge the personal identifying

                    information of Plaintiff and Class Members unless Defendant can provide to

                    the Court reasonable justification for the retention and use of such information

                    when weighed against the privacy interests of Plaintiff and Class Members;

             iv.    requiring Defendant to provide out-of-pocket expenses associated with the

                    prevention, detection, and recovery from identity theft, tax fraud, and/or

                    unauthorized use of their Private Information for Plaintiff’s and Class




                                                  41
Case 1:24-cv-12414 Document 1 Filed 09/20/24 Page 42 of 44




        Members’ respective lifetimes;

  v.    requiring Defendant to implement and maintain a comprehensive Information

        Security Program designed to protect the confidentiality and integrity of the

        Private Information of Plaintiff and Class Members;

 vi.    prohibiting Defendant from maintaining the Private Information of Plaintiff and

        Class Members on a cloud-based database;

vii.    requiring   Defendant      to    engage    independent     third-party   security

        auditors/penetration testers as well as internal security personnel to conduct

        testing, including simulated attacks, penetration tests, and audits on

        Defendant’s systems on a periodic basis, and ordering Defendant to promptly

        correct any problems or issues detected by such third-party security auditors;

viii.   requiring Defendant to engage independent third-party security auditors and

        internal personnel to run automated security monitoring;

 ix.    requiring Defendant to audit, test, and train its security personnel regarding any

        new or modified procedures;

  x.    requiring Defendant to segment data by, among other things, creating firewalls

        and controls so that if one area of Defendant’s network is compromised, hackers

        cannot gain access to portions of Defendant’s systems;

 xi.    requiring Defendant to conduct regular database scanning and securing checks;

xii.    requiring Defendant to establish an information security training program that

        includes at least annual information security training for all employees, with

        additional training to be provided as appropriate based upon the employees’

        respective responsibilities with handling personal identifying information, as




                                        42
 Case 1:24-cv-12414 Document 1 Filed 09/20/24 Page 43 of 44




         well as protecting the personal identifying information of Plaintiff and Class

         Members;

 xiii.   requiring Defendant to routinely and continually conduct internal training and

         education, and on an annual basis to inform internal security personnel how to

         identify and contain a breach when it occurs and what to do in response to a

         breach;

 xiv.    requiring Defendant to implement a system of tests to assess its respective

         employees’ knowledge of the education programs discussed in the preceding

         subparagraphs, as well as randomly and periodically testing employees’

         compliance with Defendant’s policies, programs, and systems for protecting

         personal identifying information;

  xv.    requiring Defendant to implement, maintain, regularly review, and revise as

         necessary a threat management program designed to appropriately monitor

         Defendant’s information networks for threats, both internal and external, and

         assess whether monitoring tools are appropriately configured, tested, and

         updated;

 xvi.    requiring Defendant to meaningfully educate all Class Members about the

         threats that they face as a result of the loss of their confidential personal

         identifying information to third parties, as well as the steps affected individuals

         must take to protect herself;

xvii.    requiring Defendant to implement logging and monitoring programs sufficient

         to track traffic to and from Defendant’s servers; and

xviii.   for a period of 10 years, appointing a qualified and independent third-party




                                         43
           Case 1:24-cv-12414 Document 1 Filed 09/20/24 Page 44 of 44




                 assessor to conduct a SOC 2 Type 2 attestation on an annual basis to evaluate

                 Defendant’s compliance with the terms of the Court’s final judgment, to

                 provide such report to the Court and to counsel for the class, and to report any

                 deficiencies with compliance of the Court’s final judgment;

      D.     For an award of damages, including actual, nominal, statutory, consequential, and

             punitive damages, as allowed by law in an amount to be determined;

      E.     For an award of attorneys’ fees, costs, and litigation expenses as allowed by law;

      F.     For prejudgment interest on all amounts awarded; and

      G.     Such other and further relief as this Court may deem just and proper.

                                JURY TRIAL DEMANDED

      Plaintiff demands a trial by jury of all claims in this Class Action Complaint so triable.

Dated: September 20, 2024.                  Respectfully submitted,


                                            /s/ Christina Xenides_________
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                                               44
